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            UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF INDIANA
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                  (1((('yLJ ,)
                          PLAINTIFF
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     [Type or print your name on the line above] }
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           v.                                    }                      -
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                                            1    )      -/Cause No. v       ,0'~j 'f ! <.J
':DuO\ii,LA Uc1P7] ,(t:U (Ji cOr,i                   cI{ ((;) <..; [Leave this blank, the clerk will
                          DEFENDANT)                                    supply the cause number when
     [Type or print only the name of the first   )                      youf"case is received.]
      person you are suing. List everyone you    )
      ar~ suing on page 2.]                      )


                                           COMPLAINT
                                         42 U.S.C. § 1983

                                             I. PARTIES
   A. PLAINTIFF [You are the plaintiff in this lawsuit. Neatly print or type your information below.]




                                                     . \ /2.        r
    2. What is your address:             '77LJ lL         /. ) LO<-( 11,£
     8 tJvilc I TJ-J 0 Au I)         I                 L/& Slb~



   B. DEFENDANT(S) How many defendants are you suing:                                          2-
   [The defendants are the people you are suing. Print or type the defendant's name, job title, the
   state or local government agency the defendant works for, and the address of that government
   agency. Remember to include the defendant you named in the caption on page one. If you are
   suing more than one defendant, number them.]



                                                                                          (Re\ised May 2, 2006)
USDC  IN/ND case
 :# Defendant's   3:14-cv-01578-JTM-CAN
                Name                      document
                         Job Title/Government Agency1 filed Work
                                                            05/27/14 page 2 of 9
                                                                  Address

 1.




               II. CAUSE(S) OF ACTION WITH SUPPORTING FACTS
Write why you are suing each defendant. Write who, what, when, where, and how you believe
your rights were violated. It is VERY IMPORTANT that you use each defendant's name in
describing what happened to you. If you do not write what each defendant did, the court will not
know why you are suing and that defendant will be dismissed.
Explain what constitutional or federal law right, privilege or immunity each defendant violated. Do
not cite or quote cases or statutes. If you want to make legal arguments or citatIons, you must file
a separate memorandum of law. Do not attach it to this complaint.
Write a new paragraph for each violation. Name each defendant involved in that violation.

Number your paragraphs.
1. ___________________________________________________________



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       Cause(s) of Action with Supporting Facts (continued)




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                                )\
                                '




                                     III. PREVIOUS LAWSUITS

      Have you ;ever sued anyone for the same things you wrote about in this complaint?
             !;J'NO 0 YES - [Print or type the following infonnation about the case. Attach additional
            !        sheets if there is more than one prior case.}

             Court:

            Judge: __________________ DocketNumber: _____________________

            Date filed: _ _ _ _ _ __             Date closed: _____________

                                             IV. RELIEF

     Write exactly what you want the court to do for you. This court cannot order that
     a defendant be fired, investigated, or criminally prosecuted.




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                                    V. VERIFICATION AND SIGNATURE

                          Initial Each Statement and Sign at the Bottom
      •
~I have included two properly completed summons forms (available from the
 \:J clerk) for each defendant I am suing, including full name, job title and work
                    address.
          'j


\~                  I have included one properly completed process receipt and return form
      \             (USM-285) (available from the U.S. Marshal) for each defendant I am suing.

 \:~                In addition to this complaint with an originai signature, I have included one
      \             copy of this complaint for each defendant and one extra for the court.

 vj\? completed
       (\

      I have included full payment of the flling fee OR attached a properly
  !             petition to proceed in forma pauperis (available from the clerk).

 ~t I agree to promptly notify the clerk of any change of address.
 , ,;, I have read all of the statements in this complaint. IDa notforget to keep a copy
                    for your records.}
  ,            ,~



 UtVI declare under penalty of perjury that the foregoing is true and correct.
      ii'/

                    Signed this     ,'01   da}Tof ___l__i_'~\!~~l__
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                  II. CAUSE(S) OF ACTION WITH SUPPORTING FACTS
    I Yolanda Barhams became custody of the Indiana Department of Correction on July
    14,20 I 2. On that date Indiana Department of Correction were aware of my mental and
    physical Disabilities, Schizophrenia, Depression and degenerative disc disease.

               On May 24, 2013. I was told by the Indiana Department of Correction, Education
    Provider Oakland City University, Employees, Mr. Jones, which gave me a direct order,
    signaling me out of the entire home room class to stop working on my reading; a subject
    that is a learning disability to me and order me to work on Math, and I was to work on
    Math until further notice". I told Mr. Jones I was going to grieve him ." On May 24,2013.
    after class was dismissed Mr. Jones (teacher) ,Mr. Spafford (teacher) and Mr. Sheppard
    (site manager) all employee's of Oakland City University's ,and I had a hallway meeting
    ,I was not able to speak on the issue ,but was I told by Mr. Jones boss, Mr. Sheppard
    Oakland City University site manager, "I was to work on Math in Mr. Jones class until
    othervvise told to work on anything else", then Mr. Jones wTote me on and informal of
    extra duty. May 24,2013 I grievance against Mr. Sheppard Oakland University'S (site
    manager) and Mr. Jones (teacher)both of Oakland City University.

    On May 24, First I filed a grievance against Mr. Jones the grievance stated ,"I m grieving
    the fact I am being deprived of my education here at Indiana women prison; adult Math
    literacy and school." lam the only one in my homeroom class that couldn't use ,or work
    on literacy in the class, Just Math material my Math has 12.9, applied math 11. lin Math
    comp,I only have 6.2 in reading .these is my highest scores." That same day I wrote
    another grievance, which stated," I am grieving the fact that I am not able to get the
    books I need to work on in school;' for example, today May 24,2013 Mr. Jones alone
    with Mr. Shepherd made me work on Math when my scores in Math my Applied Math
    12.Math comp 11.1 I really need to work on my reading which was a 6.2 . That's why I
    asked, for a science book, said no .... you have to work on math .Mr. Shepherd, "Mr.
    Jones's boss agreed alone with him

    The next day May 25,2013 Mr. Jones switched me from his homeroom where students
    could work on what they choose to work on ,because they don't need an instructor~ their
    scores are high enough to take the GED test; In to Mr. Spafford class, making that my
    home room class. This class the teacher gave instructions to the students ..

      June 7,2013 I received the response of the grievance which was wTitten on May
    24,2013 a decision of the Indiana Department of Correction Employee ,Executive
    Assistant S. Dawn Easley who is in charge of grieves stated ,"Mr. Jones has allowed you
    to work on reading in his class room in the past, his class room is a math class and that's
    what you should be working on is what the instructor tells you to unless he gives you
    permission to do otherwise." CAUSE OF ACTION WITH SUPPORTING FACTS
    ENDED HERE.
                                                YOLANDA BARHAMS
                                                 Date
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                                               IV. RELIEF

  I M asking for the following relief be granted from this Government agency Indiana Department of
  Correction ,on the grounds they denying me Equal protection ,by allowing another agency violate my
  Consisitutional rights which; was The First Amendment.. and several Eight Amendment.
  Doing these stressful moments I worked hard to achieve my GED; there was only one subject holding me
  back ,that was my reading, which was a learning disability for me. In wasn't enabled from reading
  materials, would have been able to be with my mother in her last moments. I am seeking and award for all
  filing fee if the wavier in not granted, all legal expenses, and most of all Emotional Distress. I'm ask for
  $440.000.000
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                              UNITED STATES DEPARTMENT OF EDUCATION                                           REGION V
                                               OFFICE FOR CIVIL RIGHTS               .                        ILLINOIS
                                                                                                              II\T])IAI'1A
                                           500 WEST MADISON ST., SUITE 1475                                   IOWA
                                                CHlCAGO, IL 60661-4544                                        M1NNESOTA
                                                                                                              NORTH DAKOTA
                                                                                                              WISCONSIN
                                                   April 14, 2014


   . Ms. Yolanda Barhams
     720 West Blaine
     Elkhart, Indiana 46516

                                                            Re:       OCRDocket #05-14-2087
                                                                      OCR Docket #05-14-4056

    Dear Ms. Barhams:

    On January 23,2014, the U.S. Department of Education, Office for Civil Rights (OCR),
    received your complaint filed against Oakland City University (the University) and
    Indiana Women's Prison (the Prison). In your complaint, you alleged that the University
    and Prison subjected you to discrimination based on age and disability and retaliated
    against you in connection with educational programs that the University operates at the
    Prison.

    Specifically, you alleged the following:

       1. in March 2013, the University and the Prison subjected you to discrimination
          based on disability and age and to retaliation for filing a grievance, in that you
          were not allowed to take a pre GED test;
       2. in May 2013, the University and the Prison subjected you to discrimination based
          on disability, in that you were not permitted use a specific reading book that you
          needed because of your disability; and
       3. in May 2013, the University and the Prison subjected you to discrimination based
          on age and to retaliation for filing a grievance, in that you were transferred from
          one class to a different class.

   OCR is responsible for enforcing Section 504 of the Rehabilitation Act of 1973 (Section
   504), 29 U.S.c. § 794, and its implementing regulation at 34 C.F.R. Part 104,< which
   prohibits discrimination on the basis of disability by recipients of Federal financial
   assistance. OCR also enforces the Age Discrimination Act of 1975 (Age Act), 42 U.S.C.
   6101-6103,.and its implementing regulation at 34 C.F.R. Prui 110, which prohibits
   discrimination on the basis of age by recipients of Federal financial assistance. As
   recipients of Federal financial assistance from the Department, the University and the
   Pdson are subject to these laws.


    The Department of Education's mission is to promote student achievement and preparation for global competitiveness
                              by fostering educational excellence and ensuring equal access.

                                                      www.ed.gov
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   According to applicable regulations, a complaint must be filed not later than 180 days
   from the date of the alleged disability discrimination or retaliation for complaining of
   disability discrimination and not later than 180 days after the complainant becomes aware
   of alleged age discrimination or retaliation for complaining of age discrimination.
   Pursuant to the regulations and OCR's case processing procedures, OCR may grant a
   waiver of the 180-day filing requirement for good cause shown.

   Your complaint was filed more than 180 days after the dates of the alleged discrimination
   and retaliation, of which you became aware when they occurred. Therefore, your
   complaint was not filed in a timely manner. You requested a waiver of the 180-day filing
   requirement. You informed told OCR that you did not file your complaint within 180
   days of the alleged discrimination and retaliation because you were in prison and you did
   not want anything worse to happen to you.

   OCR recognizes your concern about what you said happened in March and May 2013;
   however, the reason you provided for not filing your complaint in a timely manner is not
   an acceptable basis under OCR's case processing procedures to grant your request for a
   waiver of the 180-day filing requirement. OCR is, therefore, closing your complaint as
   of the date of this letter.

   This letter sets forth OCR's determination in an individual OCR case. This letter is not a
   formal statement of OCR policy and should not be relied upon, cited, or construed as
   such. OCR's formal policy statements are approved by a duly authorized OCR official
   and made available to tlw public. You may file a private suit in federal court whether or
   not OCR finds a violation.

   You have the right, pursuant to the regulation at 34 C.F.R. § 110.39 implementing the
   Age Act, to file a civil action for injunctive relief in federal court following the
   exhaustion of administrative remedies. Administrative remedies are exhausted if: (1)
   180 days have elapsed since the complainant filed the complaint with OCR, and OCR
   has made no finding, or (2) OCR issues any finding in favor of the recipient. A civil
   action can be brought only in a United States district cOUli for the district in which the
   recipient is found or transacts business. A complainant prevailing in a civil action has
   the right to be awarded the costs of the aCfion, including reasonable attorney's fees, but
   these costs must be demanded in the complaint filed with the court. Before commencing
   the action, you must give 30 days notice by registered mail to the Secretary of the
   Department of Education, the Secretary of the Department of Health and Human
   Services, the Attorney General of the United States, and the recipient. The notice shall
   state the violation of the Age Act, the relief requested, the cOUli in which the action will
   be brought, and whether or not attorney's fees are demanded in the event the
   complainant prevails. You may not bring an action if the same alleged violation of the
   Age Act by the same recipient is the subject of a pending action in any court of the
   United States.
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   If you have any questions regarding this letter, please contact Daniel Altschul, Senior
   Attorney at (312) 730-1563 or by email at dan.altschul(a)ed. gov.

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                                                  J e'Wey Turnbull
                                                  Team Leader
